                   Case 15-10952-JTD          Doc 46-1       Filed 05/06/15         Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                §
                                                      §       Chapter 11
CORINTHIAN COLLEGES, INC., et al. 1 §
                                                      §       Case No. 15-10952 (KJC)
                                                      §
                                                      §       Jointly Administered
                  Debtors.                            §
                                                      §       Hearing Date: May 27, 2015 @ 2:00 p.m. (EDT)
                                                      §       Obj. Deadline: May 20, 2015 @ 4:00 p.m. (EDT)
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                               NOTICE OF MOTION AND HEARING

         PLEASE TAKE NOTICE that, on May 6, 2015, the above-captioned debtors

(collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I) Authorizing

the Debtors to Reject Certain Unexpired Leases of Nonresidential Real Property Effective

Nunc Pro Tunc to the Date that the Debtors Surrendered Possession; (II) Approving the

Nunc Pro Tunc Abandonment of any Personal Property Remaining at the Lease Locations;

and (III) Granting Certain Related Relief (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd

Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned proposed

counsel for the Debtors on or before May 20, 2015 at 4:00 p.m. (Eastern Daylight Time).
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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: Corinthian Colleges, Inc. (7312), Corinthian Schools, Inc. (0525), Rhodes Colleges, Inc. (7311), Florida
    Metropolitan University, Inc. (7605), Corinthian Property Group, Inc. (2106), Titan Schools, Inc. (3201), Career
    Choices, Inc. (1425), Sequoia Education, Inc. (5739), ETON Education, Inc. (3608), Ashmead Education, Inc.
    (9120), MJB Acquisition Corporation (1912), ECAT Acquisition, Inc. (7789), Pegasus Education, Inc. (2336),
    Grand Rapids Educational Center, Inc. (2031), Rhodes Business Group, Inc. (6709), Everest College Phoenix,
    Inc. (6173), CDI Education USA, Inc. (0505), SP PE VII-B Heald Holdings Corp. (0115), SD III-B Heald
    Holdings Corp. (9707), Heald Capital LLC (6164), Heald Real Estate, LLC (4281), Heald Education, LLC
    (1465), Heald College, LLC (9639), QuickStart Intelligence Corporation (5665) and Socle Education, Inc.
    (3477). The Debtors’ corporate headquarters is at 6 Hutton Centre Drive, Suite 400, Santa Ana, California
    92707.


RLF1 11938236v.1
                   Case 15-10952-JTD   Doc 46-1     Filed 05/06/15   Page 2 of 2




         PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion, if required,

will be held before The Honorable Kevin J. Carey, United States Bankruptcy Judge for the

District of Delaware, at the Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 5,

Wilmington, Delaware 19801 on May 27, 2015 at 2:00 p.m. (Eastern Daylight Time).

         IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

Dated: May 6, 2015                                /s/ Marisa A. Terranova
       Wilmington, Delaware                       Mark D. Collins (No. 2981)
                                                  Michael J. Merchant (No. 3854)
                                                  Marisa A. Terranova (No. 5396)
                                                  Amanda R. Steele (No. 5530)
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                                                  Proposed Counsel for the Debtors and Debtors
                                                  in Possession




RLF1 11938236v.1
